—) — A)
UMMM ee clielam comce(-tal ti hm cele mer: Cyn

Debtor 1

First Name

Debtor 2

Middle Name

Last Name

(Spouse, if filing) First Name
United States Bankruptcy Court for the:

Case number

Middle Name

Last Name

District of

{if known)

Official Form 103B

Application to Have the Chapter 7 Filing Fee Waived

19-13142 mkn

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~ oy LA eH eék if this is an
ek amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known).

Ce Tell the Court About Your Family and Your Family’s Income

1. What is the size of your family?

Your family includes you, your
spouse, and any dependents listed
on Schedule J: Your Expenses
(Official Form 106J).

2. Fill in your family’s average
monthly income.

Include your Spouse’s income if
your spouse is living with you, even
if your spouse is not filing.

Do not include your spouse’s
income if you are separated and
your spouse is not filing with you.

3. Do you receive non-cash
governmental assistance?

Check all that apply:

You
[J Your spouse

[Vv] Your dependents 4
How many dependents?

Add your income and your spouse’s income. Include the
value (if known) of any non-cash governmental assistance
that you receive, such as food stamps (benefits under the
Supplemental Nutrition Assistance Program) or housing
subsidies.

If you have already filled out Schedule I: Your income, see
line 10 of that schedule.

Subtract any non-cash governmental! assistance that you
included above.

Your family’s average monthly net income

TF Type of assistance
L¥INo

5

Total number of people

That person’s average
monthly net income
(take-home pay)

YOU. $ 0.00
Your spouse... + ¢
Subtotal.......0..... $
— $
Total... $ 0.00

Yes. Describe...........

Liisa

4. Do you expect your family’s
average monthly net income to
increase or decrease by more than
10% during the next 6 months?

5. Tell the court why you are unable to pay the filing fee in
installments within 120 days. If you have some additional
circumstances that cause you to not be able to pay your filing

fee in installments, explain them.

Official Form 103B

IN

No

|__| Yes. Explain. ............

| have no income at this time.

Application to Have the Chapter 7 Filing Fee Waived

page 1

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parnen Colvin

Debtor 1 Case number (if known)

First Name Middle Name Last Name

i Tell the Court About Your Monthly Expenses :

6. Estimate your average monthly expenses.

Include amounts paid by any government assistance that you $ 0.00 :
reported on line 2. :

If you have already filled out Schedule J, Your Expenses, copy
line 22 from that form.

7. Do these expenses cover anyone [Y|No
who is not included in your family [ly Identify who
as reported in line 1? es. ify who........
8. Does anyone other than you
No
regularly pay any of these
expenses? [_ |ves. How much do you regularly receive as contributions? $ monthly

If you have already filled out
Schedule |: Your Income, copy the
total from line 11.

9. Do you expect your average No
monthly expenses to increase or .
decrease by more than 10% during [_Ives. Explain
the next 6 months?

ae Tell the Court About Your Property

If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?
Examples: Money you have in
your wallet, in your home, and on Cash: s___— 4.00
hand when you file this application

41. Bank accounts and other deposits

Institution name: Amount:
of money? cnn cee
Examples: Checking, savings, Checking account: $ 0.00
money market, or other financial
accounts; certificates of deposit; Savings account: $
shares in banks, credit unions,
brokerage houses, and other Other financial accounts: $

similar institutions. If you have
more than one account with the . . $
same institution, list each. Do not Other financial accounts:

include 401(k) and IRA accounts.

12. Your home? (if you own it outright or

are purchasing it) Number Street Current value: $
Examples: House, condominium, Amount you owe

manufactured home, or mobile home = City State ZIP Code on mortgage and $
liens.

13. Other real estate? Current value: $

Number Street
Amount you owe

on mortgage and $
City State ZIP Code liens:
14, The vehicles you own? Make:
Examples: Cars, vans, trucks, Model: Current value: §
sports utility vehicles, motorcycles, Year: Amount you owe
tractors, boats : on liens: $
Mileage ,
Make:
Model: Current value: $
Year: Amount you owe
Mileage on liens: $

Official Form 1038 Application to Have the Chapter 7 Filing Fee Waived page 2

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Debtor 1 parnet Colvin Case number (it known)

First Name Middle Name Last Name

15. Other assets? Describe the other assets:
Current value: $

Do not include househoid items

and clothing. Amount you owe
on liens:

A

16. Money or property due you? Who owes you the money or property? How much is owed? Do you believe you will likely receive

ayment in the next 180 days?
Examples: Tax refunds, past due ch x ay
No

or lump sum alimony, spousal $
support, child support, $
maintenance, divorce or property

Yes. Explain:

settlements, Social Security
benefits, workers’ compensation,
personal injury recovery

ca Answer These Additional Questions

17. Have you pal anyone for di [V] No
services for this case, including . How much did you pay?
filling out this application, the [| Yes. Whom did you pay? Check all that apply: you pay

bankruptcy filing package, or the [Jan attorney
schedules?

[Ja bankruptcy petition preparer, paralegal, or typing service
[_]someone else

18. Have you promised to pay or do No

you expect to pay someone for Yes. Whom do you expect to pay? Check ail that apply:

services for your bankruptcy How much do you

case? [| An attorney expect to pay?
[Ja bankruptcy petition preparer, paralegal, or typing service
$
(] Someone else

19. Has anyone paid someone on No
your behalf for services for this

case? Yes. Who was paid on your behalf? Who paid? How much did
Check all that apply: Check ail that apply: someone else pay?
[Jan attorney Parent $
[Ja bankruptcy petition preparer, Brother or sister
paralegal, or typing service Friend
LJ Someone else Pastor or clergy
Someone else
20. Have you filed for bankruptcy No
within the last 8 years? [| Yes. District When Case number
MM/ DD/ YYYY
District When Case number
MM/ DD/ YYYY
“XY District When Case number
: MM/ DD/ YYYY

Cr Sign Below

By signing here under penalty of perjury, | declare that | cannot afford to pay the filing fee either in full or in installments. | also declare
that the information | provi YH) application is true and correct.

xX Parnell colvin GAH

x
Signature of Debtor 17 Signature of Debtor 2
Date 05/17/2019 Date
MM / DD/YYYY MM / DD /YYYY

Official Form 103B Application to Have the Chapter 7 Filing Fee Waived page 3

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Debtor 1

First Name Middie Name Last Name
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: District of .

Case number
{If known)

Order on the Application to Have the Chapter 7 Filing Fee Waived

After considering the debtor's Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B), the court
orders that the application is:

[ ] Granted. However, the court may order the debtor to pay the fee in the future if developments in
administering the bankruptcy case show that the waiver was unwarranted.

[ ] Denied. The debtor must pay the filing fee according to the following terms:

You must pay... On or before this date...
$ Month / day / year
$
Month / day / year
$
Month / day / year
+ $

Month / day / year
Total

If the debtor would like to propose a different payment timetable, the debtor must file a
motion promptly with a payment proposal. The debtor may use Application for Individuals to
Pay the Filing Fee in Installments (Official Form 103A) for this purpose. The court will
consider it.

The debtor must pay the entire filing fee before making any more payments or transferring any
more property to an attorney, bankruptcy petition preparer, or anyone else in connection with the
bankruptcy case. The debtor must also pay the entire filing fee to receive a discharge. If the
debtor does not make any payment when it is due, the bankruptcy case may be dismissed and
the debtor's rights in future bankruptcy cases may be affected.

[ ] Scheduled for hearing.
A hearing to consider the debtor's application will be held

on at AM/ PM at
Month / day / year Address of courthouse

If the debtor does not appear at this hearing, the court may deny the application.

By the court:
Month / day / year United States Bankruptcy Judge

